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                   EXHIBIT C
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                                      REVOLVING LOAN NOTE

    $14,000,00.00                                                                           August 6, 2021
         FOR VALUE RECEIVED, BRIDGELINK ENGINEERING, LLC, a Delaware limited liability
company (the “Borrower”), hereby promises to pay to CENTURY BANK (the “Lender”) or its registered
assigns FOURTEEN MILLION AND NO/100 DOLLARS ($14,000,000.00) or, if less, the then unpaid
principal amount of the Revolving Loans made by the Lender to the Borrower, in the amounts and at the
times set forth in the Credit Agreement, dated as of August 6, 2021, among the Borrower, the Lenders party
thereto and BANCORPSOUTH BANK, as Administrative Agent (as the same may be amended, restated,
supplemented or otherwise modified from time to time, the “Credit Agreement”) and to pay interest from
the date hereof on the principal balance of such Revolving Loans from time to time outstanding at the rate
or rates and at the times set forth in the Credit Agreement, in each case at the Administrative Agent’s
Payment Office, in the currency in which such Loan is denominated in immediately available funds.
Capitalized terms used herein and not defined herein shall have the meanings assigned to such terms in the
Credit Agreement.

        The Revolving Loans evidenced by this Revolving Loan Note (this “Note”) are prepayable in the
amounts, and under the circumstances, and their respective maturities are subject to acceleration upon the
terms, set forth in the Credit Agreement. This Note is subject to, and shall be construed in accordance with,
the provisions of the Credit Agreement and is entitled to the benefits and security set forth in the Loan
Documents.

        The Lender is hereby authorized to record on the Schedule annexed hereto, and any continuation
sheets which the Lender may attach hereto, (a) the date of each Revolving Loan made by the Lender, (b)
the Type and amount thereof, (c) the interest rate (without regard to the Applicable Margin) and Interest
Period applicable to each such Revolving Loan that is a LIBOR Loan, and (d) the date and amount of each
conversion of, and each payment or prepayment of the principal of, each such Revolving Loan. The entries
made on such Schedule shall be prima facie evidence absent manifest error of the existence and amounts
of the obligations recorded thereon, provided that the failure to so record or any error therein shall not in
any manner affect the obligation of the Borrower to repay such Revolving Loans in accordance with the
terms of the Credit Agreement.

         Except as specifically otherwise provided in the Credit Agreement, the Borrower hereby waives
presentment, demand, notice of dishonor, protest, notice of protest and all other demands, protests and
notices in connection with the execution, delivery, performance, collection and enforcement of this Note.

        Whenever in this Note a Person is referred to, such reference shall be deemed to include the
successors and assigns of such Person. The Borrower shall not have the right to assign its rights or
obligations hereunder or any interest herein (and any such attempted assignment shall be void), except as
expressly permitted by the Loan Documents. No failure or delay of the Lender in exercising any power or
right hereunder shall operate as a waiver thereof, nor shall any single or partial exercise of any such right
or power, or any abandonment or discontinuance of steps to enforce such a right or power, preclude any
other or further exercise thereof or the exercise of any other right or power. Neither this Note nor any
provision hereof may be waived, amended or modified, nor shall any departure therefrom be consented to,
except pursuant to a written agreement entered into between the Borrower and the Lender with respect to
which such waiver, amendment, modification or consent is to apply, subject to any consent required in
accordance with Section 10.2 of the Credit Agreement.

        All communications and notices hereunder shall be in writing and given as provided in Section 10.1
of the Credit Agreement.
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      THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH,
THE LAWS OF THE STATE OF TEXAS (WITHOUT REGARD TO PRINCIPLES OF CONFLICTS OF
LAWS).

         The Borrower, and by accepting this Note, the Lender, each hereby irrevocably and unconditionally
submits, for itself and its property, to the exclusive jurisdiction of the courts of the State of Texas sitting in
Harris County and of the United States District Court for the Southern District of Texas and any appellate
court from any thereof, in any action or proceeding arising out of or relating to this Note or the other Loan
Documents, or for recognition or enforcement of any judgment, and the Borrower, and by accepting this
Note, the Lender, each hereby irrevocably and unconditionally agrees that, to the extent permitted by
applicable law, all claims in respect of any such action or proceeding may be heard and determined in such
Texas State court or, to the extent permitted by applicable law, in such Federal court. The Borrower, and
by accepting this Note, the Lender, each agrees that a final judgment in any such action or proceeding shall
be conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other manner
provided by law. Nothing in this Note shall affect any right that the Lender may otherwise have to bring
any action or proceeding relating to this Note or the other Loan Documents against the Borrower, or any of
its property, in the courts of any jurisdiction.

        The Borrower, and by accepting this Note, the Lender, hereby irrevocably and unconditionally
waives, to the fullest extent it may legally and effectively do so, any objection that it may now or hereafter
have to the laying of venue of any suit, action or proceeding arising out of or relating to this Note or the
other Loan Documents in any court referred to in the preceding paragraph hereof. The Borrower, and by
accepting this Note, the Lender, hereby irrevocably waives, to the fullest extent permitted by applicable
law, the defense of an inconvenient forum to the maintenance of such action or proceeding in any such
court.

        The Borrower, and by accepting this Note, the Lender, irrevocably consents to service of process
in the manner provided for notices herein. Nothing herein will affect the right of the Lender to serve process
in any other manner permitted by law.

      THE BORROWER, AND BY ACCEPTING THIS NOTE, THE LENDER, EACH HEREBY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT
MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR
INDIRECTLY ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS NOTE. THE
BORROWER, AND BY ACCEPTING THIS NOTE, THE LENDER, EACH (A) CERTIFIES THAT
NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT SUCH OTHER PERSON HAS BEEN INDUCED TO
ACCEPT THIS NOTE AND ENTER INTO THE LOAN DOCUMENTS TO WHICH IT IS A
PARTY BY, AMONG OTHER THINGS, THE WAIVERS AND CERTIFICATIONS IN THIS
PARAGRAPH.




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         IN WITNESS WHEREOF, the Borrower has executed this
year first written above.




                                                         Manager




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                     SCHEDULE TO REVOLVING LOAN NOTE

                               Amount of
                                             Interest   Interest
        Type of    Amount of    principal
Date                                          Rate if   Period if
       Revolving   Revolving   converted,                           Notation Made By
                                             LIBOR      LIBOR
         Loan        Loan       repaid or
                                              Loan       Loan
                                 prepaid




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